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 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
10
11   IN RE: PHILLIPS RECLALED CPAP
                                   )
     BI-LEVEL PAP, ET AL PRODUCTS )
12   LIABILITY LITIGATION          ) No. 21-mc-1230-JLC
                                     )
13                                   )
                                     )
14   ROBERT MURRAY,                  )            MDL No. 3014
                                     )
15                                   )
            Plaintiff                )
16      vs.                          )
                                     )            REPLY TO OPPOSITION TO MOTION
17                                   )
     KONINKELIJKE PHILIPS N.V.;      )            TO REMAND – Request for in Person
18                                   )            Hearing
     PHILIPS NORTH AMERICA LLC;      )
19   PHILIPS HOLDING USA, INC.;      )
     PHILLIPS DS NORTH AMERICA       )
20                                   )
     LLC; PHILIPS RS NORTH AMERICA )
21   LLC; and DR. JEFFREY R. POLITO, )
     MD, et al                       )
22                                   )
                                     )
23          Defendants               )
                                     )
24
25
           Robert Murray (“Murray” herein), by and through his undersigned counsel, hereby
26
     responds to “Defendant Phillips RS North America LLC’s (“Phillips” herein) “Opposition to
27
     Plaintiff Murray’s Motion to Remand and Alternative Request to Sever” filed on March 8, 2024
28

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 1
     as document # 2564.

 2
              First, Murray has made no motion to “sever.” This is apparently a “boiler-plate”
 3
     responsive pleading applicable to other cases seeking remand. Murray objects to having to split
 4
     his claims and being required to participate in two trials, one in California (against Dr. Polito)
 5   and one in Pittsburgh (vs. Phillips).
 6
 7            Second, Phillips claims that Dr. Polito (a California resident and the Doctor prescribing
 8   the Respironics “CPAP” machine to Murray) is a “fraudulently named defendant and his naming
 9   does not defeat diversity.” The main evidence that Phillips relies on is the fact that Murray
10   never claimed he treated with Dr. Polito after his initial consultations and the prescription of the
11   CPAP machine that he claimed caused his liver cancer “7 years before the recall” (Opposition,
12   p.5, last lines).
13            While Phillips alleges that Murray does not plead that Dr. Polito had “was involved with
14   the design, manufacture, labeling, marketing advertisement, distribution and/or sale of the
15   Device” (Opposition, p. 5’ citing p. 11 of the Murray’s “Fact Sheet,” there is nothing on that
16   page that says what Phillips cites and Dr. Polito WAS directly involved in the marketing,
17   distribution and sale of the defective CPAP device to Murray. 1 On p. 6 of his state court

18   Complaint. ¶ 19, Murray alleges that

19                   “In or about 2015, Polito prescribed a “Respironics” brand CPAP “Pro” machine
                     manufactured and distributed by Phillps to Plaintiff for control of the OSA and
20
                     Plaintiff purchased such machine.”
21
22            Even assuming that Murray never consulted with Dr. Polito after, there was and is a

23   “continuing duty” in California for Dr. Polito to notify plaintiff of the recall and the potential of
     cancer-causing materials in the CPAP device Polito prescribed. Plaintiff alleged in his state
24
     court Complaint (¶29) that “At some point after the recall was issued by Phillips, Polito became
25
26
27
28   1   Phillips attached Murray’s “Compliant” as “Exhibit A” to its Opposition.

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 1
     aware of it. Polito knew that he had prescribed Recalled Devices, Polito did not inform Plaintiff
     of the Phillips recall.”
 2
            The state court Compliant (page 12 of 20 of Exhihbit 1 to the Opposition) further alleged
 3
     that “Polito prescribed the device” that Murray used and “ordered Plaintiff to use the device
 4
     every night” [¶ 32] and “only used the device as instructed, in the manner prescribed by Phillips
 5
     and Polito” [¶34]. Plaintiff’s 5th Cause of Action is for “Negligent Failure to Warn” [Exhibit A
 6
     to Opposition, pages 19 – 20] including the allegation that “Polito’s failure to warn plaintiff
 7
     once he became aware of the subject device’s recall were a continuing factor in causing harm to
 8
     Plaintiff” [¶99.]
 9
10
            In its “Opposition” regarding a physician’s “continuing duty” (pp. 8 – 12), Phillips
11
     generally misstates California law on the subject. First, Phillips asserts that Murray only cited
12
     two cases, ignoring the Hunter v Phillip Morris [582 F 3d 1039, 1046 (9th Cir 2009)] and
13
     Grancare LLC v Thrower [889 F 3d 543, 549 (9th Cit 2018)] setting forth the rule that “if there
14
     is a Possibility that state court would find the complaint states a cause of action against any of
15   the resident defendants, the court must find that joinder was proper” [Ex. 1 to Reply, p. 5].
16          In its argument, Phillips grossly misstates the decision and holding in Carlin v Superior
17   Court [13 Cal 4th 1004 at 1116, 1118 (1996)] where the California Supreme court held as
18   follows:
19                  Moreover, in the case of prescription drugs, the duty to warn runs to the
20                  physician, not to the patient. (See, e.g., Brown, supra, 44 Cal.3d at pp. 1061-
                    1062; Stevens v. Parke, Davis & Co. (1973) 9 Cal.3d 51, 65 [107 Cal.Rptr. 45, 507
21                  P.2d 653, 94 A.L.R.3d 1059] [“In the case of medical prescriptions, 'if adequate
22                  warning of potential dangers of a drug has been given to doctors, there is no duty
                    by the drug manufacturer to insure that the warning reaches the doctor's patient for
23
                    whom the drug is prescribed.” [Italic in original, bold added] .13 Cal. 4th at 1116
24
            The court there went on to say:
25
                    “We emphasize, however, that the ‘consumer expectation’ aspect of a breach of
26
                    warranty action is subject, in the prescription drug context, to the general rule,
27                  discussed above, that warnings concerning the drug's properties are properly
28                  directed to the physician rather than the patient. (Brown, supra, 44 Cal.3d at


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 1                 pp. 1061-1062 [“[A] patient's expectations regarding the effects of [a prescription]
                   drug are those related to him by his physician, to whom the manufacturer directs
 2                 the warnings regarding the drug's properties.”].) Thus, for purposes of liability for
 3                 breach of warranty, ordinarily “it is the prescribing doctor who in reality stands in
                   the shoes of 'the ordinary consumer.' ” (Carmichael v. Reitz (1971) 17 Cal.App.3d
 4                 958, 989 [95 Cal.Rptr. 381].) [Italic in original, bold added].
 5
 6          On page 7 of Exhibit 2 hereto (Murray’s Motion to Remand filed in this Court) the public

 7   communications from Phillips show many references to a patient consulting with his or her

 8   “physician” – here it is the physician who failed consult with the patient when notified of the

 9   recall and potential (in Murray’s situation real) risk for kidney cancer.

10
            One further issue requires a brief comment; the fact that federal laws limit generic
11
     manufacturer’s duties to warm has been held under California law to NOT preclude such state
12
     law claims. See: T.H. v. Novartis Pharms. Corp., 4 Cal. 5th 145, 158 (2017) specifically holding
13
     that “because federal regulations preclude generic manufacturers from unilaterally altering the
14
     warning labels on their drugs (PLIVA, supra, 564 U.S. at p. 617, 131 S.Ct. 2567), federal law
15
     preempts state tort claims against generic manufacturers for failure to provide adequate
16
     warnings. (Id. at p. 609, 131 S.Ct. 2567.) State tort claims against a brand-name manufacturer
17
     based on a failure to warn, however, are not preempted. (Id. at p. 625, 131 S.Ct. 2567.)”
18
19
            The Court should order attorney fees payable by Phillips in the amount of at least
20
     $25,000 – while his initial request (p. 2, line 6 of Exhibit 2 Motion to Remand file in this Court),
21
     was for “only” $15,000, since that date Murray and his counsel have opposed continuing the
22
     deadline for such motions and have participated in one additional year of litigation in this case,
23
     reading the almost weekly “Status Conference” transcripts and dealing with the case and the
24   various matters that have arisen in the time since Murray first moved to remand.
25
26
                                                              __________________________
27                                                            RICHARD I. WIDEMAN, Esq.
28                                                            Attorneys for Plaintiff


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